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 1   Timothy E. Warriner
     Attorney at Law
 2   813 6th St., Suite 450
     Sacramento, CA 95814
 3   (916) 443-7141
 4   Attorney for defendant,
     RACHEL HOLMES
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 6
                  IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                           EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,           )                 No. 2:09-cr-00026 KJM
                                         )
10               Plaintiff,              )                 STIPULATION AND
                                         )                 ORDER
11               v.                      )
                                         )
12                                       )                 Date: March 3, 2011
     RACHEL HOLMES,                      )                 Time: 10:00 a.m.
13                                       )                 Judge: Hon. Kimberly J.
                 Defendant.              )                 Mueller
14   ____________________________________)
15   The parties hereby stipulate to the following:
16      1.      A status conference in this matter is set for February 3, 2011 at 10:00 a.m.
17      2.      Additional time is needed to review discovery materials, to prepare
18              possible pretrial motions, to review evidence in the custody of federal
19              agents, and to meet with the client and government’s counsel to discuss
20              case resolution. Both parties, therefore, stipulate that the status
21              conference be continued until March 3, 2011 at 10:00 a.m.
22      3.      It is further stipulated by the parties that time continue to be excluded to
23              March 3, 2011 for preparation of counsel pursuant to local code T4. 18
24              U.S.C. 3161(h)(7)(B)(iv).
25      DATED: February 1, 2011                     /s/ Tim Warriner, Attorney for
                                                    Defendant RACHEL HOLMES
26
        DATED: February 1, 2011                     /s/ Daniel McConkie, Jr.
27                                                  Assistant U.S. Attorney
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 1
 2                                     ORDER
 3       GOOD CAUSE APPEARING, it is hereby ordered that the status conference
 4    set for February 3, 2011 be continued to March 3, 2011 at 10:00 a.m., and that
 5    time continue to be excluded to March 3, 2011, for preparation of counsel
 6    pursuant to Local Code T4, 18 U.S.C. 3161(h)(7)(B)(iv). All counsel is advised
 7    that they are required to attend the status conference now set for March 3, 2011,
 8    and that no continuance of that date will be granted. .
 9    DATED: February 1, 2011.
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11                                          UNITED STATES DISTRICT JUDGE

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